          USDC IN/ND case 2:05-cr-00143-PPS-PRC document 6 filed 09/14/05 page 1 of 1
OAO 187 (Rev. 7/87) Exhibit and Witness List


                                      UNITED STATES DISTRICT COURT
                     NORTHERN                                  DISTRICT OF                                 INDIANA


          UNITED STATES OF AMERICA
                                                                                  EXHIBIT AND WITNESS LIST
                       V.
                 RUDOLFO HEREDIA                                                       Case Number: 2:05-MJ-189

PRESIDING JUDGE                                   PLAINTIFF’S ATTORNEY                          DEFENDANT’S ATTORNEY
        Magistrate Judge Paul Cherry                            Arlington Foley                           AUSA Philip Benson
TRIAL DATE (S)                                    COURT REPORTER                                COURTROOM DEPUTY
         Detention Hearing 9/14/05                           Digitally Recorded                             Susan Brown
 PLF.   DEF.     DATE                   ADMITTE
                            MARKED                                          DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.    NO.     OFFERED                   D

                9/14/05     Witness               John Dougherty, Detective-Chicago Police

    1                           X          X      CD Rom - Segments of Statement R Heredia

    2                           X          X      Criminal History Report CPD (1pp) 10/20/93 R Heredia

    3                           X          X      Arrest Report Alsip PD (8pp) Misdemeanor Complaint 8/7/96 R Heredia

    4                           X          X      Arrest Report Dolton IL (5pp) Date Offense 7/12/01 R Heredia

    5                           X          X      Arrest Report Calumet Park IL (5pp) 9/13/05 R Heredia

    5                           X          X      Case Supplementary Report Chicago PD (4pp) Date Occurrence 7/30/05 R Heredia

                                                  *****************Exhibit returned to Counsel for Government******************




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
                                                                                                         Page 1 of 1    Pages
